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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )           8:06CR271
                                                     )
                Plaintiff,                           )
                                                     )            ORDER
v.                                                   )
                                                     )
RICARDO VILLA SOSA,                                  )
                                                     )
                Defendant.                           )


         The Court has been advised that the defendant requests permission to enter a plea of guilty.
The Court is further advised that the defendant will consent to Magistrate Judge Thomas D. Thalken
conducting the hearing on the plea of guilty.
         IT IS ORDERED that:
         1.     This case, insofar as it concerns this defendant, is removed from the trial docket based
upon the request of the defendant.
         2.     A hearing on the defendant’s anticipated plea of guilty is scheduled before Magistrate
Judge Thomas D. Thalken on Wednesday, January 10, 2007 at the hour of 2:00 p.m. in Courtroom
No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
         3.     At least two (2) working days in advance of the plea proceeding above, counsel for
plaintiff and for defendant shall provide to the undersigned magistrate judge a copy of the following: a)
a copy of the Petition to Enter A Guilty Plea; b) a copy of any plea agreement; and c) a copy of any
charging document not yet on file. Failure to meet this deadline will cause the plea proceeding to
be cancelled.
         4.     On or before the date for the plea proceeding, counsel for plaintiff and for defendant
shall provide to the assigned probation officer their respective versions of the offense for purposes of
preparing the presentence investigation report.
         5.     For this defendant, the time between today’s date and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See 18
U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).
         6.     If the defendant is not proficient in the English language, then the defense counsel
must arrange for the person who translated the petition and plea agreement to be present for entry of
the plea OR shall present a completed “DECLARATION OF INTERPRETER (TRANSLATOR)” form
available from the courtroom deputy clerk.
         Dated this 3rd day of January, 2007.

                                                         BY THE COURT:


                                                         s/ Thomas D. Thalken
                                                         United States Magistrate Judge
